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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION

  BABY DOE, et al.                                        )
                                                          )
                   Plaintiffs,                            )
                                                          )
  v.                                                      )      Case No. 3:22-cv-49-NKM
                                                          )
  JOSHUA MAST, et al.                                     )
                                                          )
                   Defendants,                            )
                                                          )
  and                                                     )
                                                          )
  UNITED STATES SECRETARY OF                              )
  STATE ANTONY BLINKEN, et al.,                           )
                                                          )
                   Nominal Defendants.                    )
                                                          )


      RESPONSE OF DEFENDANTS JOSHUA AND STEPHANIE MAST TO PLAINTIFFS’
                    NOTICE OF SUPPLEMENTAL AUTHORITY

            Defendants Joshua and Stephanie Mast respond as follows to Plaintiffs’ Notice of

  Supplemental Authority:

            First, neither the Federal Rules nor the Court’s Local Rules provide for such notices, and

  the Notice fails to “set[] forth the citations” that Plaintiffs want the Court to examine. Cf. Fed. R.

  App. P. 28(j). Indeed, it cannot because the Circuit Court has not yet issued an order. 1

            Second, the Does misrepresent what the Circuit Court said; it did not say the Adoption

  Order was “void ab initio.” The court said that Plaintiffs could have the Adoption Order set aside

  because they were “de facto parents” with notice rights under the Due Process Clause.




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      Defendants will provide a copy of any written order as soon as it is available.
                                                     1
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         Third, when the Circuit Court issues an order, this Court should dismiss as moot the

  claims for declaratory relief attacking the final order. See ECF No. 68, Prayer for Relief.

         Fourth, the Circuit Court rejected Plaintiffs’ federal preemption arguments and said that

  the adoption proceeding did not implicate U.S. foreign policy. This further confirms there is no

  basis for federal question jurisdiction here. See ECF No. 113 at 9–12.

         Fifth, the Masts will appeal the Circuit Court’s decision because the court should have

  applied Virginia Code § 63.2-1216, an issue already pending before the Supreme Court of

  Virginia. The Circuit Court also agreed to stay proceedings pending appeal.

         Finally, even if the Circuit Court vacates the final Adoption Order, the Masts still have

  legal custody of Baby Doe under the interlocutory adoption order, which will remain in effect.

  Once the Virginia appeals courts determine whether the Does’ petition should have been dismissed

  outright (with which the guardian ad litem also agrees), the Circuit Court will conduct further

  proceedings to determine the best home for Baby Doe. The Circuit Court specifically did not say

  that Plaintiffs have any legal status as de jure parents. The Court also did not grant Plaintiffs’

  request for custody.



         Dated: April 4, 2023                           Respectfully submitted,

                                                        /s/ John S. Moran              .




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